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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                         §
                                                 §
vs.                                              §      NO: AU:23-CR-00135(1)-RP
                                                 §
(1) Saint Jovite Youngblood                      §

ORDER GRANTING MOTION AND RESETTING SENTENCING
         IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
Sentencing in Courtroom 4, on the Fifth Floor, United States Courthouse, 501 West Fifth Street,
Austin, TX , on Tuesday, November 19, 2024 at 09:00 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

      Sentencing memorandums and motions are due to the court no later than 72 hours prior to
sentencing. Not following this may result in the hearing being reset.

        IT IS SO ORDERED this 29th day of October, 2024.




                                                 ______________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE
